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                                                        December 23, 2020

          VIA EMAIL AND US MAIL
          Laura K. Figueras, Esq.
          The Glennon Law Firm, P.C.
          160 Linden Oaks
          Rochester, NY 14625

                      Re: Popat v. Levy, M.D., the State University of New York, University at Buffalo, et al.
                          Docket No.: 1:15-cv-1052

          Dear Laura:

                  I am writing in response to your letter dated December 9, 2020 noting your
          objections/requests for clarification on our supplemental discovery responses.

                                                          Privilege Log

                  As for your objections to our privilege log, please find attached our amended privilege log
          with now includes a notation of an attached document exchanged between Kim Drozdowski and
          myself relative to UBNS’ investigation of your client’s initial complaint to Dean Cain. You have
          already been provided said letter in our prior discovery responses. My apology for the oversight
          in not including the attachment reference. Please note, Ms. Drozdowski is a member of
          management as the Director of Human Relations and therefore, any communications I had with
          her are subject to attorney client privilege, and no further disclosure regarding the specific subject
          matter is necessary.

                  As for the remaining information, we disagree with your assessment that our privilege log
          does not comply with the local rules. However, in a good faith effort to resolve your concerns with
          our privilege log, please allow this to confirm that all emails referenced in our privilege log which
          bear the subject “Popat” are exchanges between myself and my clients regarding the complaint
          filed with Dean Cain as well as litigation regarding your client’s allegations. No further description
          of our discussions are appropriate.

                                          Plaintiff’s First Request for Production of Documents

                 As and for Dr. Levy’s response to Plaintiff’s First RFP, No. 8, all documents have been
          disclosed and/or included in the privilege log. No other documents exist.
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      As for UBNS’ response to Plaintiff’s First RFP, No. 2, all documents responsive to this
demand have been disclosed and/or are included in the privilege log.

       As for UBNS’ response to Plaintiff’s First RFP No. 3, as noted very clearly in our original
response, neither Dr. Levy or any other member of UBNS created, maintained or in any way
possesses any documents, recordings, videos, emails, or any other form of document/information
whatsoever regarding the meeting which took place between Drs. Levy, Siddiqui, Leonardo, and
Popat.

        Finally, as for UBNS’ response to Plaintiff’s First RFP No. 7, all documents, including
memos, notes, reports, regarding the events of July 22, 2014, have been disclosed or are included
in the privilege log.

        Plaintiff’s Third Request for Production of Documents and Interrogatories to UBNS

         As and for UBNS’ response to Plaintiff’s Third RFP, I disagree with your assessment that
the “form” of our response is improper. There are documents requested for which none exist, and
to avoid confusion or need for repeat and additional back and forth over whether such documents
exist, I requested that Mr. Cournyea, as CEO of UBNS, provide counsel with a narrative of the
good faith efforts that were put forth to identify all documents that are responsive to Plaintiff’s
demands. You are certainly welcomed to question him at his deposition regarding any other
specific information you seek.

        As for the PDF printout of a spreadsheet, specifically tailored to your demand for
identification of other surgeons with Dr. Popat’s same qualifications who have operated with
UBNS surgeons, as very clearly outlined by Mr. Cournyea in his Affidavit to avoid this very
inquiry, the information could only be obtained by running a query of CPT codes that would be
the same as for the types of procedures completed by Dr. Popat and UBNS surgeons. The
procedure dates and names of the other community surgeons are included. For very obvious
reasons, patients’ names are not included. The only other information that could possibly be
included would be the CPT codes used to run the query. If you would like that information, please
advise and I will request that they be provided.

        I trust that this responds to all your concerns. Should you wish to discuss, please do not
hesitate to contact me. I remain,


                                             Very Truly Yours,



                                             Colleen K. Mattrey

CKM/jad
Enclosure
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Cc:     George Zimmerman, Esq. (via email only)
        Amy Hemenway, Esq. (via email only)
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     Popat v. Levy        UBNS Privilege Log—AMENDED 12/23/2020

Date              Document Type           Sender                Recipient                  Subject           Privilege
8/14/14                Email          E.Levy              C. Mattrey                         Popat          Atty-Client
8/14/14                Email          C. Mattrey          E. Levy                            Popat          Atty-Client
8/22/14         Email w/attachment    C. Mattrey          K. Drozdowski                 Popat, Letter to    Atty-Client
                                                                                     Dean --Investigation

8/25/14         Email w/attachment    K. Drozdowski       C. Mattrey                     Popat, revised     Atty-Client
                                                                                       letter to Dean re
                                                                                         investigation
8/25/14                  Email       C. Mattrey           K. Drozdowski                      Popat          Atty-Client
9/2/14                   Email       E.Levy               C.Mattrey                          Popat          Atty-Client
9/2/14                   Email       C. Mattrey           E.Levy                             Popat          Atty-Client
9/5/14                   Email       C. Mattrey           E.Levy/A.Rittling                  Popat          Atty-Client
9/5/14                   Email       E. Levy              C.Mattrey                          Popat          Atty-Client
1/19/15                  Email       E.Levy               C.Mattrey                          Popat          Atty-Client
1/19/15                  Email       C. Mattrey           E.Levy                             Popat          Atty-Client
6/24/15                  Email       C.Mattrey            E.Levy/M.Cournyea                  Popat          Atty-Client
6/25/15                  Email       M.Cournyea           C.Mattrey/E.Levy                   Popat          Atty-Client
1/15/16                  Email       M. Cournyea          C.Mattrey                          Popat          Atty-Client
4/16/16                  Email       C.Mattrey            M.Cournyea/E.Levy                  Popat          Atty-Client
10/28/16                 Email       A.Rittling                                              Popat          Atty-Client
                                                      E.Levy/M.Cournyea/C.Mattrey
5/19/17                  Email       C.Mattrey        E.Levy/M.Cournyea/A.Rittling          Popat           Atty-Client
6/5/17                   Email       C.Mattrey            E.Levy/M.Cournyea                 Popat           Atty-Client
10/27/17                 Email       C.Mattrey            E.Levy/M.Cournyea                 Popat           Atty-Client
12/14/17                 Email       C.Mattrey            E.Levy                            Popat           Atty-Client
3/18/18                  Email       C.Mattrey            E.Levy/M.Cournyea                 Popat           Atty-Client
5/23/18                  Email       C.Mattrey            E.Levy/M.Cournyea                 Popat           Atty-Client
6/17/18                  Email       C.Mattrey            E.Levy/M.Cournyea                 Popat           Atty-Client
9/4/18                   Email       C.Mattrey            E.Levy                            Popat           Atty-Client
11/28/18                 Email       C.Mattrey            M.Cournyea/E.Levy                 Popat           Atty-Client
1/10/19                  Email       C.Mattrey            M.Cournyea/E.Levy                 Popat           Atty-Client
2/8/19                   Email       C.Mattrey            M.Cournyea/E.Levy                 Popat           Atty-Client
3/26/19                  Email       C.Mattrey            M.Cournyea                        Popat           Atty-Client
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5/26/19                  Email       C.Mattrey          E.Levy/M.Cournyea        Popat      Atty-Client
8/1/19                   Email       C.Mattrey          E.Levy/M.Cournyea        Popat      Atty-Client
10/27/19                 Email       C.Mattrey          E.Levy/M.Cournyea       Popat       Atty-Client
1/4/20                   Email       C.Mattrey          E.Levy/M.Cournyea       Popat       Atty-Client
3/20/20                  Email       C.Mattrey          E.Levy/M.Cournyea       Popat       Atty-Client
11/7/20                  Email       C.Mattrey          E.Levy/M.Cournyea       Popat       Atty-Client
